Case 2:05-Cr-20221-BBD Dooument 8 Filed 06/22/05 Page 1 of 2 Page|D 6

    

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IN THE UNITED sTArEs DISTRICT coURT ' "
FoR THE wEsTERN DIsTRICT oF TENNESSQ§ wl 22 m B, 08
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UNITED STATES OF AMERICA

V.

MARK A. TAYLOR 05cr20221-B

 

ORDER SPECIFYING PERIOD OF EXCLUDABLE DELAY
UNDER THE SPEEDY TRIAL ACT

 

The defendant has this day notified the Court that he is attempting to obtain
private counsel to represent him in this action. Pursuant to the Speedy Trial Act,
as set out in 18 U.S.C. §3161(11)(8)(B)(iv), a defendant may be granted a period of
excludable delay While attempting to obtain private counsel.

lt is therefore ORDERED that the time period of _Q;/Z/; jj
through f;Z/Q L/Qj be excluded from the time its imposed by the Speedy
Trial Act for trial of this case, While the defendant is attempting to obtain private
counsel.

ARRAIGNMENT IS RESET TO WEDNESDAY lULY 6l 2005 AT 10:00 A.M. BEFORE

 

MAGISTRATE DGE S. THOMAS ANDERSON.

 

This a l day of aj L)KQ , 2005.

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UNITED STATES MAGISTRATE ]UD§E
‘Thls document entered on the docket sheet‘ln ompli|ance
with Fhlle 55 andlor 32¢'b} FRCrP on

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 2:05-CR-20221 Was distributed by faX, mail, or direct printing on
June 22, 2005 to the parties listed.

 

 

Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

